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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-JSC
     and FACEBOOK, INC., a Delaware
12   corporation,                              AMENDED CERTIFICATION OF
                                               INTERESTED ENTITIES OR PERSONS
13               Plaintiffs,                   BY DEFENDANTS NSO GROUP
                                               TECHNOLOGIES LIMITED AND Q
14         v.                                  CYBER TECHNOLOGIES LIMITED
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,         Action Filed: 10/29/2019
16
                 Defendants.
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     AMENDED CERTIFICATION OF                                     Case No. 4:19-cv-07123-JSC
     INTERESTED ENTITIES OR
     PERSONS
       Case 4:19-cv-07123-PJH Document 77 Filed 05/22/20 Page 2 of 2




 1          Pursuant to Civil Local Rule 3-15, on behalf of Defendants NSO Group Technologies

 2   Limited and Q Cyber Technologies Limited (Q Cyber), the undersigned certifies that the

 3   following listed persons, associations of persons, firms, partnerships, corporations (including

 4   parent corporations) or other entities (i) have a financial interest in the subject matter in

 5   controversy or in a party to the proceeding, or (ii) have a non-financial interest in that subject

 6   matter or in a party that could be substantially affected by the outcome of this proceeding:

 7          OSY Technologies, as the shareholder of Q Cyber Technologies Limited, has a financial

 8 interest in Q Cyber.

 9          Other than the named Defendants, no other entity has a financial interest, as defined by

10   28 U.S.C. § 455(d)(4), in either Defendant.

11          By complying with Civil Local Rule 3-15, Defendants are not waiving their right to

12   assert that they act exclusively as the agent of governmental entities or that the Court lacks

13   personal jurisdiction over Defendants. Defendants expressly reserve those rights.

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15   DATED: May 22, 2020                                   KING & SPALDING LLP
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                                                           By: /s/Joseph N. Akrotirianakis
18                                                             JOSEPH AKROTIRIANAKIS
19                                                             AARON S. CRAIG
                                                               Attorneys for Defendants NSO GROUP
20                                                             TECHNOLOGIES LIMITED and Q
                                                               CYBER TECHNOLOGIES LIMITED
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      AMENDED CERTIFICATION OF                         1                         Case No. 4:19-cv-07123-JSC
      INTERESTED ENTITIES OR
      PERSONS
